      Case 1:18-cv-01051-KWR-KK Document 157 Filed 11/02/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


R.P. and C.F.,

       Plaintiffs,

vs.                                                         Case No. 18-cv-1051-KWR-KK

THE SANTA FE PUBLIC SCHOOLS,
and GARY F. GREGOR, in his individual capacity,

       Defendants.


  ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF
  PAGE LIMITATIONS OF EXHIBITS TO PLAINTIFFS’ OMNIBUS RESPONSE TO
   DEFENDANTS’ MOTIONS TO EXCLUDE PLAINTIFFS’ EXPERT WITNESSES

       THIS MATTER comes before the Court on Plaintiffs’ Unopposed Motion for Extension

of Page Limitations of Exhibits to Plaintiffs’ Omnibus Response to Defendants’ Motions to

Exclude Plaintiffs’ Expert Witnesses. The Court having reviewed the motion and the pleadings

and being fully advised therein, find the Motion is WELL-TAKEN and should be GRANTED.

       Accordingly, the Court further FINDS AND ORDERS:

       1. Plaintiffs are granted a total of 300 pages for the exhibits to their proposed Omnibus

          Daubert Response.

       2. Plaintiffs’ exhibits to their Omnibus Daubert Response will be filed under seal.

       IT IS SO ORDERED.
      Case 1:18-cv-01051-KWR-KK Document 157 Filed 11/02/20 Page 2 of 2




SUBMITTED BY:

/s/ Carolyn M. “Cammie” Nichols
CAROLYN M. “CAMMIE” NICHOLS
ALICIA C. LOPEZ
MAGGIE H. LANE
cmnichols@rothsteinlaw.com
alopez@rothsteinlaw.com
mhlane@rothsteinlaw.com
Attorneys for Plaintiff

APPROVED AS TO FORM:

/s/ Martin R. Esquivel via email 10/30/20
Martin R. Esquivel
Katherine A. Howington
mesquivel@esqlawnm.com
khowington@esqlawnm.com
Attorneys for Gary F. Gregor

/s/ Jerry A. Walz via email 10/30/20
Jerry A. Walz
jerryawalz@walzandassociates.com
Attorney for Espanola Public Schools and Ruby E. Montoya
